       Case 1:23-cr-00490-SHS         Document 277        Filed 04/04/24     Page 1 of 1




                                          April 4, 2024


VIA ECF

Hon. Sidney H. Stein
United States District Judge
Southern District of New York
500 Pearl Street, Courtroom 23A
New York, NY 10007

       Re: United States v. Robert Menendez et al., Case No. 1:23-cr-00490-SHS

Dear Judge Stein:

        We represent Nadine Menendez in the above referenced case, and submit this letter on
behalf of all the defendants, and with the consent of the Government, to request a modification to
the Court’s pre-trial schedule. Specifically, the Defendants request that the current deadline of
April 5, 2024 to submit proposed jury charges to the Court be adjourned by one week to April 12,
2024. We do not expect that this one-week extension will result in any prejudice to the Parties or
the Court. As stated above, the Government consents to this request.


                                                    Respectfully,

                                                    /s/ David Schertler
                                                    David Schertler
                                                    Danny Onorato
                                                    Paola Pinto
                                                    Counsel for Nadine Menendez
